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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division



 HUANG ZHIYANG,

       Plaintiff,

 v.                                                   Civil Action 1:20-cv-836-LO-IDD

 45.COM, an Internet domain name, and
 JOHN DOE,

       Defendants.



                                               ORDER

       This MATTER is before the Court sua sponte on Plaintiff Huang Zhiyang’s Email to the

Clerk’s Office dated September 9, 2021 (“Email Request”), which the Court interprets as Plaintiff’s

response to the Show Cause Order issued on July 8, 2021. [Dkt. No. 33]. This Court has made

numerous attempts to afford Plaintiff the opportunity to prove his identity as the real Huang Zhiyang

and the rightful owner of the domain name 45.com. Specifically, the Court conducted an evidentiary

hearing on July 22, 2021. [Dkt. No. 40]. Despite this Court’s numerous attempts to accommodate

him, Plaintiff did not appear at the evidentiary hearing, nor has he complied with this Court’s July 8,

2021 Order requiring him to submit evidence he would use to prove his identity and provide

additional explanation as to why he was unable to participate in the evidentiary hearing by video.

       Upon consideration of the circumstances and evidence presented at the evidentiary hearing,

this Court granted non-party Huang Zhiyang’s Motion to Intervene and determined him to be the

rightful owner of the domain name 45.com. [Dkt. No. 45]. The Court issued a Report and

Recommendation on August 20, 2021 [Dkt. No. 46], recommending Huang Zhiyang, the Intervenor,


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be declared the lawful owner of 45.com and directing ownership of the domain name be transferred

to the Intervenor. The Report and Recommendation in this matter is currently pending before the

Honorable District Judge Liam O’Grady. Accordingly, it is hereby

     ORDERED that Plaintiff’s Email Request is DENIED as moot.


     The Clerk is directed to forward a copy of this Order to Plaintiff and to all counsel of record.

     Entered : September 14 th
                         ___,  2021
                                                           /s/ Ivan D. Davis
                                                          _____________________________
                                                           Ivan D. Davis
                                                           United States Magistrate Judge

     Alexandria, Virginia




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